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1                                                  THE HONORABLE RICARDO S. MARTINEZ
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6                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
7                                          AT SEATTLE
8    DOUGLAS LACY, on behalf of himself and   Case No. 3:19-cv-05007-RSM
     all others similarly situated,
9                                             FURTHER JOINT STATUS REPORT AND
                                              CASE MANAGEMENT ORDER
10                        Plaintiff,

11         v.

12   COMCAST CABLE COMMUNICATIONS,
     LLC,
13                        Defendant.
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                                                                           Davis Wright Tremaine LLP
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1                                              JOINT STATUS REPORT
2                 Pursuant to LCR 16 and this Court’s Order (Dkt. No. 85), Defendant Comcast Cable

3    Communications, LLC (“Comcast”) and Plaintiff Douglas Lacy (“Plaintiff”), by and through their

4    respective counsel of record, respectfully submit this further joint status report and case management

5    plan.

6            I.          Background and Statement of the Case

7                 Plaintiff Douglas Lacy (“Plaintiff”) asserts claims against Comcast under the Telephone

8    Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”), for himself and on behalf of a putative class

9    defined as “[e]ach person within the United States who (1) received a non-emergency call to his or her

10   cellular telephone; (2) from Comcast and/or its agents on behalf of Comcast; (3) through the use of an

11   automatic telephone dialing system (‘ATDS’) and/or an artificial or prerecorded voice; and (4) which

12   call was directed to a number assigned to a cellular telephone service but not assigned to the intended

13   recipient of the calls.” Plf.’s Second Amended Complaint (“SAC”) (Dkt. No. 46) ¶ 45. Stated differently,

14   the proposed class includes people who received “wrong number” calls, where the person Comcast was

15   intending to call was not the person to whom the phone number was then assigned.

16                Plaintiff filed this proposed class action on January 4, 2019. (Dkt. No. 1). Comcast moved to

17   compel arbitration. Plaintiff disputed that his claims fell within the scope of any purported arbitration

18   agreement, but agreed that an arbitrator could determine the threshold “scope” question. (Dkt. No. 4).

19   The arbitrator ruled that Plaintiff’s claims were outside the scope of the arbitration agreement. (Dkt. No.

20   40 at Ex. 1). Comcast then moved to dismiss and transfer this case to Pennsylvania. (Dkt. No. 48). On

21   March 26th, the Court denied Comcast’s motion to dismiss. (Dkt. No. 59).

22                Comcast filed its Answer and affirmative defenses to the SAC on April 9, 2020. See Comcast’s

23   Answer (Dkt. No. 61); Order Lifting Stay and Confirming Arbitration Award (Dkt. No. 47). Through its

24   Answer, Comcast, among other things, “denies all liability, denies that Plaintiff or the putative class

25   suffered any actionable harm for which Comcast is liable, denies that certification of this action is

26   appropriate under Rule 23 of the Federal Rules of Civil Procedure, and denies that Plaintiff or the

27   putative class are entitled to any relief whatsoever.” Answer ¶ 45.


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1           Comcast asserts that the Plaintiff’s receipt of “wrong number” calls was the result of human error
2    when the number was input to its systems, so that Plaintiff cannot represent a purported class that would
3    be dominated by holders of so-called “reassigned numbers”—numbers previously held by a Comcast
4    customer who forfeited the number such that it was reassigned to a new user who did not consent to
5    receive calls from Comcast. Plaintiff responds that Comcast has produced no evidence to support its
6    claim that the calls to the Plaintiff were the result of a clerical input error and has also argued that the
7    cause of a wrong number call is irrelevant to liability under the TCPA and class certification.
8           In March and April 2020, the parties filed cross-motions concerning discovery and case
9    management. Specifically, on March 12, 2020, Comcast moved for a stay of the action pending the
10   Supreme Court’s decision in Barr v. American Association of Political Consultants, Inc., No. 19-631,
11   cert. granted (U.S. Jan. 10, 2020) (“Barr”), a case in which the constitutionality of the TCPA was
12   challenged. In the alternative, Comcast sought a protective order preventing disclosure of, among other
13   things, personally identifiable information (“PII”) of all of its current and former subscribers—including
14   call data with names, addresses, and telephone numbers—pursuant to the federal Cable Communications
15   Policy Act of 1984, 47 U.S.C. § 551 et seq. (the “Cable Act”). See Comcast’s Motion for a Stay or, in
16   the Alternative, for a Protective Order (Dkt. No. 56) (seeking protective order from disclosing call
17   records including current or former subscriber PII on the grounds that such information is protected by
18   federal law from disclosure). Particularly given Comcast’s privacy concerns,Comcast argued that
19   wholesale production of call data is unnecessary and not proportional given Plaintiff’s unique
20   experience.
21          Plaintiff opposed Comcast’s motion to stay and for a protective order and filed an affirmative
22   motion to compel discovery of all of Comcast’s call data over a four-year period. See Plf.’s Opp’n to
23   Comcast’s Motion to Stay (Dkt. No. 57); Plf.’s Motion to Compel (Dkt. No. 62) (seeking Comcast’s
24   production of its call data, including, the “(1) date and time of the call; (2) telephone number called; (3)
25   telephone number placing the call; (4) dialing equipment used to place the call; (5) entity that placed the
26   call; and (6) name and contact information for the intended recipient (i.e. the Comcast subscriber
27   associated with the telephone number called).”).

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1            On April 28, 2020, the Court (Leighton, J.) stayed this action pending the Supreme Court’s
2    decision in Barr. See Order (Dkt. No. 70). The Supreme Court issued its decision in Barr on July 6,
3    2020, striking down a part of the TCPA but finding the unconstitutional component severable and
4    upholding the remainder of the statute. In response, Comcast’s counsel1 and Plaintiff’s counsel resumed
5    meet-and-confer discussions on discovery, case management and scheduling.
6            On July 9, 2020, just two days after the Barr decision, the Supreme Court granted certiorari in
7    Facebook Inc. v. Duguid, No. 19-511, cert. granted (U.S. July 9, 2020) (“Duguid”). Comcast then moved
8    to continue the stay pending the Supreme Court’s decision in Duguid and the Court (Leighton, J.) denied
9    the motion by order dated August 13, 2020. See Stay Order, Dkt. No. 82 (August 13, 2020). In its Order
10   lifting the stay, the Court held:
11                    Second, Lacy convincingly argues that, regardless of Duguid’s outcome,
                      discovery will need to take place in this case regarding (1) the existence and
12                    exact nature of any ATDS used to contact Lacy, (2) whether Comcast called
                      Lacy and other potential class members using a pre-recorded voice, and (3)
13                    whether such calls were directed to cell phone numbers other than that of
                      the intended recipients.
14
15   Id. at 3:5-9 (citing Plf.’s Compl.). In addition, the Court explained:
16                    Comcast makes no showing that these issues have been addressed through
                      the discovery that has already taken place. Indeed, before this case was
17                    stayed, the parties had filed motions disputing Comcast’s obligations to
                      respond to Lacy’s discovery. Until the Supreme Court decides Duguid,
18                    Comcast should be spared from ATDS-related discovery that may prove
                      superfluous and dispositive motions on certification or liability should be
19                    delayed. However, this appears achievable and is more desirable than
                      staying the case in its entirety. The Motion is therefore DENIED and the
20                    stay is LIFTED.
21   Id. at 3:9-15.
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26             In late May 2020, certain of Comcast’s counsel, including counsel submitting the meet-and-confer
     declaration on the pending motion for protective order, withdrew from this matter (Dkt. Nos. 74, 75, 76) due to a
27   change in law firms, and the Court (Leighton, J.) on June 8, 2020 granted pro hac vice admission to incoming
     counsel (Dkt. No. 77). Comcast has at all times been represented by the same law firms in this matter.

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1               The parties thereafter continued to meet and confer in light of the Court’s Order, and requested
2    time to submit to the Court a further joint status report with a joint or competing proposals for a revised
3    case schedule. See Joint Status Report (Dkt. No. 84).2
4         II.           Proposed Case Management Plan
5               Consistent with the Court’s Stay Order, the parties propose that discovery proceed first as it
6    relates to calls made with a prerecorded voice, with any further ATDS-related discovery, if necessary,
7    following the Supreme Court’s decision in Duguid. The parties propose the following case deadlines:
8
                              EVENT                                             DEADLINE / DATE3
9
10    Deadline to complete fact discovery relating to: January 31, 2021
      (1) Plaintiff, (2) prerecorded voice calls, (3)
11    prerecorded call scripts, and (4) the technology
      used to place all calls at issue in this case.
12
13    Deadline to complete fact discovery relating to Later of 90 days after the Supreme Court’s
      ATDS-related calls                              decision in Duguid or July 30, 2021
14
15    Deadline for Plaintiff to file motion for class 90 days after the deadline to complete fact
      certification with expert reports               discovery relating to ATDS-related calls4
16
17    Deadline for Comcast to file opposition to motion 60 days after Plaintiff’s deadline to file motion for
      for class certification with expert reports.      class certification with expert reports
18
19    Deadline for Plaintiff to file reply in support of 60 days after Comcast’s deadline to file
      class certification with rebuttal expert reports.  opposition to motion for class certification with
20                                                       expert reports

21
      Hearing on class certification                             To be set by the Court
22
23
24              2
              As set forth in the parties’ prior submission, the dates set forth in this Court’s prior Minute Order Setting
     Pre-Certification Deadlines (Dkt. No. 53) are moot.
25              3
              As relates to the deadlines set forth herein, “days” are calculated pursuant to Federal Rule of Civil
     Procedure 6.
26
                4
                Plaintiff may also move for class certification prior to the Supreme Court’s decision in Duguid but no
27   earlier than March 12, 2021. Comcast reserves the right to oppose the timing and propriety of such a motion in
     light of the Court’s Order lifting the stay.

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1
      Trial and pretrial deadlines                          To be scheduled once Plaintiff’s motion for class
2                                                           certification is determined
3
            The parties are continuing to work in good faith to resolve any disagreements concerning
4
     discovery. The parties expressly reserve all arguments raised in their prior discovery motions, and will
5
     advise the Court as to any need for a decision on any of the issues raised in those prior motions, in which
6
     case the parties anticipate a need to refresh the briefing. To further facilitate such discovery, Comcast is
7
     working with Plaintiff on proposals to handle the treatment of PII and any disclosure in discovery of
8
     such information as specified in 47 U.S.C. § 551.
9
     Dated: October 16, 2020                                  Respectfully submitted,
10
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1                                                       ORDER
2            Pursuant to the case schedule submitted in the parties’ Joint Status Report, the Court sets the

3    following pre-certification deadlines:

4                           EVENT                                            DEADLINE / DATE5

5
      Deadline to complete fact discovery relating to: January 31, 2021
6     (1) Plaintiff, (2) prerecorded voice calls, (3)
      prerecorded call scripts, and (4) the technology
7     used to place all calls at issue in this case.

8
      Deadline to complete fact discovery relating to Later of 90 days after the Supreme Court’s
9     ATDS-related calls                              decision in Duguid or July 30, 2021

10
      Deadline for Plaintiff to file motion for class 60 days after the deadline to complete fact
11    certification with expert reports               discovery relating to ATDS-related calls6

12
      Deadline for Comcast to file opposition to motion 60 days after Plaintiff’s deadline to file motion for
13    for class certification with expert reports.      class certification with expert reports

14
      Deadline for Plaintiff to file reply in support of 60 days after Comcast’s deadline to file
15    class certification with rebuttal expert reports.  opposition to motion for class certification with
                                                         expert reports
16
17    Hearing on class certification                          To be set by the Court

18
      Trial and pretrial deadlines                            To be scheduled once Plaintiff’s motion for class
19                                                            certification is determined

20
             IT IS SO ORDERED.
21
22
23
             Dated: October 19, 2020.                         A
                                                              RICARDO S. MARTINEZ
                                                              CHIEF UNITED STATES DISTRICT JUDGE
24
25           5
              As relates to the deadlines set forth herein, “days” are calculated pursuant to Federal Rule of Civil
     Procedure 6.
26
             6
                Plaintiff may also move for class certification prior to the Supreme Court’s decision in Duguid but no
27   earlier than March 12, 2021. Comcast reserves the right to oppose the timing and propriety of such a motion in
     light of the Court’s Order lifting the stay.

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